CaSe 2:18-cr-OO448-S.]O Document 2 Filed 07/18/18 Page 1 of 2 Page |D #:12

7 Reset Form

 

UN|TED STATES DlSTRlCT COURT

CENTRAL DlSTRlCT OF CAL|FORNIA
CASE SUMMARY

 

 

 

 

 

 

Case Number b (¢;

{W Q'M§§U Defendant Number 1

 

U.S.A. v. CG Roxane, LLC

 

indictment m lnformation

 

Year of Birth N/A

 

investigative agency (FB|, DEA, etc.) EPA

NOTE: All items MUST be completed. |f you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[:] C|ass A Misdemeanor |:| MinorOffense E Petty Offense
:] C|ass B Misdemeanor |:| Class C Misdemeanor Felony
b. Date of Offense March 20-23, 2015 & May 11-14, 2015

 

c. County in Which first offense occurred

Los Angeies

 

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

Los Ange|es
|:] Orange

|j Ventura
[:| Santa Barbara
[| Riverside |:] San Luis Obispo
San Bernardino [:] Other
Citation of Offense 42 U.S.C. Sections 6928(d)(1), (d)(3);
49 U.S.C. Section 5124; 18 U.S.C. Section 2(b)

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Ange|es, San Luis Obispo, Santa Barbara, Ventura)
m Eastern (Riverside and San Bernardino) [:| Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series oftransactions been previously
filed and dismissed before trial?

No |:| Yes

|f "Yes," Case Number:

 

Pursuant to GeneraiOrder16~05, criminal cases may be related
ifa previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,
transaction, series oftransactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by differentjudges.

Related case(s), ifany (MUST MATCH NOT|CE OF RELATED

CASE):

 

 

CR-72 (12/17)

CASE SUMMARY

PREVlOUSLY FlLED COMPLAINT/CVB ClTATlON

A compiaint/CVB citation was previously filed on:
' (`¢

 

 

 

Case Number: a w
Ea.§

Assigned Judge: :.»<
=° ::

Charging: "~"` ,n

The complaint/CVB citation:
|:] is still pending
|:I was dismissed on:

ira ar mr fica

GH'll,:l

 

PREvlous couNsEL ;: i’~"; 03
Was defendant previously represented?: :§:[:]Wb Yes

|F YES, provide Name: Michae| Ga||agher

 

Phone Number: (213) 412-2666

COMPLEX CASE
Are there 8 or more defendants in the indictment/Information?

:| Yes* No

Wi|| more than 12 days be required to present government's
evidence in the case-in-chief.7

|:| Yes* No

*AN OR|G|NAL AND1 COPY (UNLESS ELECTRON|CALLY FlLED)
OF THE NOT|CE OF COMPLEX CASE MUST BE FlLED AT THE
T|METHE lND|CTMENT |5 FlLED IF ElTHER "YES" BOX lS
CHECKED.

SUPERSED|NG |ND|CTMENT/|NFORMAT|ON
lS THlS A NEW DEFENDANT? [:| Yes :] No
This is the superseding charge (i.e., ist, 2nd).

The superseding case was previously filed on:

 

 

Case Number

 

The superseded case:
|:| is still pending before Judge/Magistrate Judge

 

m Was previously dismissed on

 

Are there 8 or more defendants in the superseding case?
:| Yes* |:l No

Wil| more than 12 days be required to present government's
evidence in the case-in~chief?

[:| Yes* |:| No

Was a Notice of Comp|ex Case filed on the indictment or
|nformation?
|:| No

m Yes

*AN ORIG|NAL AND1 COPY OF THE NOT|CE OF COMPLEX CASE
lVlUST BE FlLED AT THE T|l\/lE THE SUPERSED|NG IND|CTMENT |S
FlLED IF E|THER "YES" BOX IS CHECKED.

Page 1 of 2

Case 2:18-cr-OO448-S.]O Document'Z Fiied 07/18/18 Page 2 of 2 Page |D #:13
UN|TED STATES DlSTRlCT COURT

CENTRAL DlSTRlCT OF CALlFORNlA
CASE SUMMARY

 

 

lNTERPRETER
is an interpreter required? |:] YES NO
iF YES, list language and/or diaiect:

 

_QIM
i:] i\/iaie m Femaie
|:| U.S.Citizen [:| Alien

Aiias Name(s)

 

 

This defendant is charged in:
Aii counts

ij Oniy counts:

 

|:| This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[:] This defendant is designated as "Specia| Case" per
18 USC § 3166(b)(7).

is defendant ajuveniie? |:| Yes No
iF YES, should matter be sealed? |:i Yes |:] No

The area(s) of substantive law that Wiii be involved in this case
inciude(s):

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time ofarrest on compiaint: N/A

b. Posted bond at complaint level on:
in the amount of$

c. PSA supervision? l:l Y€S i:l NO
d. is on bail or release from another district:

 

 

Defendant is in custody:
a. Piace ofincarceration: [:} State [:] Federal

b. Name of |nstitution:
c. if Federai, U.S. i\/iarshais Service Registration Number:

 

 

d_ |:i Soieiy on this charge. Date and time ofarrest:

 

e. On another conviction: |:| Yes m NO

|FYES; [:] State |:i Federal i:i Writ ofissue
f. Awaiting trial on other charges: i:| Yes |:] No

iF YES¢ [:] State |:] Federal AND

Name of Court:

 

Date transferred to federal custody:

 

 

l:l financial institution fraud i:i PUbiiC COnUPtiOn This person/proceeding is transferred from another district

[:] government fraud i:] tax offenses pursuant to F~R-Cr~P» _20 W__Zl __40
environmental issues |:] mail/Wire fraud

|:| narcotics offenses |:i immigration offenses

m violent crimes/firearms ij corporate fraud

l:l Other

EXCLUDABLE TllVlE

Determinations as to excludable time prior to filing indictment/information EXPi_AiN:

 

 

Date 07/17/2018

4//
Sig nature of Assistant U.S. Attorney
Erik i\/i. Si|ber
Print Name

 

CR-72 (12/17)

CASE SUMMARY Page 2 of 2

